                     Case 3:23-cr-00246-CRB Document 1 Filed 08/03/23 Page 1 of 11
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                                       FILED
                                                                for the                                                 Aug 03 2023

                                                                                                                       Mark B. Busby
                                                   Northern District
                                                 __________  DistrictofofCalifornia
                                                                          __________                             CLERK, U.S. DISTRICT COURT
                                                                                                              NORTHERN DISTRICT OF CALIFORNIA
                                                                                                                      SAN FRANCISCO
                  United States of America                         )
                             v.                                    )
 Anderson Josue MEDINA and Lucas William LAZAR
                                                                   )      Case No. 3:23-mj-71168 MAG
                                                                   )
                                                                   )
                                                                   )
                                                                   )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   August 2, 2023               in the county of           San Francisco                    in the
     Northern          District of           California        , the defendant(s) violated:

            Code Section                                                     Offense Description
21 U.S.C. §§ 841(a)(1), (b)(1)(C)               Possession with Intent to Distribute a Federally Controlled Substance
                                                (cocaine base and/or methamphetamine)




         This criminal complaint is based on these facts:
Please see attached affidavit of DEA TFO Braden Lyons




         ✔ Continued on the attached sheet.
         ’

                                                                                                        /s/
                                                                                              Complainant’s signature
                                         Approved as to form /s/ AUSA
                                                                                             Braden Lyons, DEA TFO
                                                  Michael G. Lagrama
                                                                                               Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
__________________________
           Telephone              (specify reliable electronic means).

Date:             08/03/2023
                                                                                                 Judge’s signature

City and state:                         Portland, Oregon                      Hon. Thomas S. Hixson, U.S. Magistrate Judge
                                                                                               Printed name and title
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                AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR AN

                   ARREST WARRANT AND CRIMINAL COMPLAINT



       I, Braden Lyons, a Task Force Officer with the Drug Enforcement Administration,

having been duly sworn, hereby depose and state as follows:

                                        INTRODUCTION

       1.       I make this affidavit in support of an application for an arrest warrant and a

criminal complaint charging ANDERSON JOSUE MEDINA (“MEDINA”) and LUCAS

WILLIAM LAZAR (“LAZAR”) with violating 21 U.S.C. §§ 841(a)(1), (b)(1)(C) and 18 U.S.C.

§ 2 (aiding and abetting), based on their possession with intent to distribute a mixture or

substance containing a detectable amount of cocaine base and/or methamphetamine, occurring

on or about August 2, 2023, in San Francisco, California, in the Northern District of California.

                                SOURCES OF INFORMATION

       2.       The facts in this affidavit come from my personal observations, my training and

experience, information from records and databases, and information obtained from other agents,

officers, and witnesses. Where statements made by other individuals (including other law

enforcement officers or agents) are referenced in this Affidavit, such statements are described in

sum and substance and in relevant part. Similarly, where information contained in reports and

other documents or records is referenced in this Affidavit, such information is also described in

sum and substance and in relevant part.

       3.       Because this Affidavit is submitted for the limited purpose of establishing

probable cause for a criminal complaint and arrest warrant, I have not included each and every

fact known to me about this case. Rather, I have set forth only the facts that I believe are

necessary to support probable cause for a criminal complaint and arrest warrant. My

understanding of the facts and circumstances of the case may evolve as the investigation

continues.
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                                  AFFIANT BACKGROUND

       4.       I am an “investigator or law enforcement officer of the United States” within the

meaning of 18 U.S.C. § 2510(7) – that is, an officer of the United States who is empowered by

law to conduct investigations of, and to make arrests for, the narcotics offenses enumerated in

Title 21 of the United States Code.

       5.       I am employed by the San Francisco Police Department (SFPD) as a Police

Officer and have been so employed since October 2017. I am currently assigned to the SFPD’s

Narcotics Division, and I am assigned to investigate narcotics trafficking offenses. I am currently

assigned as a Task Force Officer (TFO) to the Drug Enforcement Administration (DEA) within

the San Francisco Divisional Office in California. I have been assigned as a DEA TFO since

April 2022.

       6.       I graduated from the SFPD academy in June 2018. In the police academy, I

received 40 hours of narcotics-related training. I also attended the SFPD Detective School where

I received additional narcotics investigations training. The training curriculum covered all

aspects of drug investigations, including identification of the various types of controlled

substances, physical surveillance, utilization of confidential sources, interview techniques,

undercover operations, and the general operation of drug trafficking organizations. The

following is a list of courses I have successfully completed that are relevant to my job duties

including narcotics-related arrests, investigations, and search warrants: Search Warrant

Fundamentals (POST Certified-DOJ), Robert Presley Institute of Criminal Investigation (ICI)

80-hour Core Course, Cellphone Use in Narcotic Investigations (HIDTA), Gangs and Narcotics

(HIDTA), Search Warrants and Narcotics Investigations (HIDTA), Northern California Law

Enforcement Opioid Conference & Training 2021 (Rx Safe Marin), Confidential Informant

Operations & Safety (HIDTA), Fentanyl and Other Synthetic Opiates (Midwest Counter-Drug

Training Center), Drug Identification (Professional Law Enforcement Training – Texas), and the

57th Annual California Narcotics Officers Association Training Institute and LE Enforcement

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Summit.

       7.       During the course of my employment as a Police Officer, I have participated in

many controlled substance investigations either as a case agent or in a supporting role. I have

debriefed confidential sources and witnesses who provided personal knowledge about drug

trafficking organizations. In addition, I have discussed with numerous law enforcement officers

and confidential sources the methods and practices used by drug traffickers. I have also

participated in many aspects of drug investigations including, but not limited to, undercover

operations, telephone toll analysis, records research, and physical surveillance. I have also
assisted in the execution of numerous federal and state search and arrest warrants regarding

illegal narcotics activity, in which suspects were arrested and controlled substances were seized.

       8.       Through my training, education, experience, and my conversations with other law

enforcement agents and officers who conduct drug investigations, I have become familiar with

drug traffickers’ use of mobile telephones, and their use of numerical codes and code words to

conduct their business. By virtue of my training and experience, and through my conversations

with other law enforce officers and agents who conduct drug investigations, I have become

familiar with drug traffickers’ methods of operation including, but not limited to, the
manufacturing, distribution, storage, and transportation of controlled substances, and the

methods used by drug traffickers to collect, transport, safeguard, remit, and/or launder drug

proceeds.

       9.       I have also had discussions with other law enforcement officers and confidential

informants about the packaging and preparation of narcotics, the methods of operation, and

security measures that are often employed by narcotics traffickers. I have examined

documentation of various methods in which fentanyl and methamphetamine and other illicit

drugs are smuggled, transported, possessed with intent to distribute, and distributed.

       10.      I have personally participated in the investigation discussed in this affidavit. I am

familiar with the facts and circumstances of the investigation through my personal participation

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in it based on several investigative techniques, including discussions with agents of the DEA and

with other law enforcement officers, and review of records and reports relating to the

investigation. Unless otherwise noted, wherever in this affidavit I assert that a statement was

made, the statement is not being recounted verbatim but instead only in substance and in part.

Facts not set forth herein, or in any attached exhibits, are not being relied on in reaching my

conclusion that the requested order should be issued. Nor do I request that this Court rely on any

facts not set forth herein in reviewing this application.

                                    APPLICABLE STATUTE

       11.     Possession of Controlled Substance with Intent to Distribute. Under Title 21,
United States Code, Section 841(a)(1), (b)(1)(C) it is unlawful for any person to knowingly

possess with intent to distribute a federally controlled substance. Fentanyl, methamphetamine,

cocaine, and cocaine base are federally controlled substances.

                            STATEMENT OF PROBABLE CAUSE

       12.     On August 2, 2023, MEDINA and LAZAR were arrested by DEA agents near

Mission Street and Eighth Street, in San Francisco, California, in the Northern District of

California. Based on the facts described below, I have probable cause to believe that MEDINA

and LAZAR have violated 21 U.S.C. §§ 841(a)(1), (b)(1)(C) and 18 U.S.C. § 2 (aiding and

abetting), based on their possession with intent to distribute a mixture or substance containing a

detectable amount of cocaine base and/or methamphetamine.

       13.     At approximately 5:20 p.m., on August 2, 2023, law enforcement personnel, from

a position of concealment, observed MEDINA and LAZAR through surveillance footage

loitering on Mission Street, near the corner of Eighth Street. This is an area of San Francisco

known for open-air narcotics dealing. MEDINA was wearing a black jacket, a black A’s beanie,

and a dark gray backpack. LAZAR was wearing a brown hooded sweater, black pants or

sweatpants, and a black backpack. LAZAR also had a black balaclava over his head that was

covering his nose and mouth.

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       14.     While loitering on Mission Street, MEDINA and LAZAR would stand next to

each other and hand suspected narcotics or U.S. currency to or from each other. Both were seen

holding suspected narcotics at different points. Specifically, MEDINA was seen holding in his

left hand a plastic bag containing a white substance which, based on my training and experience,

was consistent with a controlled substance such as fentanyl or methamphetamine. LAZAR was

also seen holding in his right hand a plastic bag containing white substances/suspected narcotics.

While MEDINA was seen actively selling narcotics to people on the streets, LAZAR appeared to

be handing narcotics to MEDINA and receiving U.S. currency from MEDINA. Agents observed
MEDINA complete several hand-to-hand drug transactions or distribute suspected narcotics to

people on the streets. For example, during the surveillance, MEDINA was seen receiving U.S.

currency from a male, who was wearing a white or light gray hooded sweater, and, in turn,

MEDINA handed the male what appeared to be narcotics. In a second observed transaction,

MEDINA received U.S. currency from a male, who was wearing a dark green shirt, and, in turn,

MEDINA handed the male what appeared to be narcotics. Screenshots of the surveillance video

depicting some of the events described above appear below, including the interactions between

LAZAR and MEDINA consistent with aiding and abetting each other in the offense, as well as
possession of cash and suspected controlled substances:




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       15.       Based on the above, law enforcement believed probable cause existed to arrest

MEDINA and LAZAR for violation of 21 U.S.C. § 841(a)(1), (b)(1)(C) and 18 U.S.C. § (aiding

and abetting).

       16.       At approximately 5:30 p.m. on August 2, 2023, law enforcement personnel

converged on the location where MEDINA and LAZAR were loitering, identified themselves as

law enforcement, and detained MEDINA and LAZAR for further investigation.

       17.       DEA agents arrested MEDINA and LAZAR for possession with intent to

distribute controlled substances. On his person or backpack, MEDINA had about 31.1 gross

grams of suspected cocaine salt. On his person or backpack, LAZAR had a total of about 364

gross grams of suspected fentanyl that were divided in four separate baggies: 124, 69, 99, and 72



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gross grams, respectively. On his person or backpack, LAZAR also had about 53 gross grams of

cocaine base and 58 gross grams of methamphetamine.

       18.     The suspected cocaine salt seized from MEDINA tested inconclusive utilizing a

TruNarc testing device. About 124 gross grams of suspected fentanyl that was seized from

LAZAR tested presumptive positive for mannitol, which is a cutting agent for fentanyl. The

remaining suspected fentanyl seized from LAZAR tested presumptive inconclusive for fentanyl.

Based on my training and experience, the suspected fentanyl tested positive for mannitol or

tested as inclusive because they contain cutting agents or are otherwise not pure fentanyl. Based

on my training and experience, I know that fentanyl is often mixed with a high ratio of cutting

agents to increase the volume of the product. It is not uncommon for presumptive field test

results to provide a reading of mannitol, inositol, lactose, 4-methylaminorex, cellulose, and other

non-narcotic agents and later obtain a confirmatory crime lab report from a criminalist proving

the substance does in fact contain fentanyl. I have participated in investigations of clandestine

fentanyl laboratories in which large quantities of inositol, mannitol, lactose, and cellulose were

observed. Based on my continued training, ongoing education through scholarly journals and

professional experience, I believe the substances suspected to be fentanyl seized from LAZAR in

this incident will ultimately be determined to contain fentanyl.

       19.     That said, the approximately 53 gross grams of suspected cocaine base and the 58

gross grams of suspected methamphetamine found in LAZAR’s possession tested presumptive

positive for cocaine base and methamphetamine, respectively.

       20.     Based on my training and experience, the amounts of controlled substances that

MEDINA and LAZAR possessed when they were arrested on August 2, 2023, were consistent

with the amounts possessed for distribution as opposed to mere personal use. They also had an

undisclosed amount of U.S. currency consistent with narcotics sales. The amounts of controlled

substances, as well as the other facts and circumstances set forth above, further show MEDINA



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and LAZAR’s intent to distribute the controlled substances that they possessed at the time of

their arrest.

        21.     MEDINA and LAZAR’s true identities were confirmed through fingerprinting.

                                         CONCLUSION

        22.     Based on the information above, there is probable cause to believe that on or

about August 2, 2023, MEDINA and LAZAR have violated 21 U.S.C. §§ 841(a)(1), (b)(1)(C),

and 18 U.S.C. § 2 (aiding and abetting) based on their possession with intent to distribute a

mixture or substance containing a detectable amount of cocaine base and and/or

methamphetamine. Accordingly, I respectfully request that the Court issue a criminal complaint

and warrants for their arrest.




                                                     /s/ Braden Lyons
                                                     _________________________________
                                                     Braden Lyons
                                                     Task Force Officer
                                                     Drug Enforcement Administration


Sworn to before me over the telephone and signed by me pursuant to Fed. R. Crim. P. 4.1 and
4(d) on this 3rd
             ___ day of August 2023.



_________________________________________
 HON. THOMAS S. HIXSON
 United States Magistrate Judge




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       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:       COMPLAINT           INFORMATION             INDICTMENT                          Name of District Court, and/or Judge/Magistrate Location
                                                      SUPERSEDING                           NORTHERN DISTRICT OF CALIFORNIA
          OFFENSE CHARGED
                                                                                                      SAN FRANCISCO DIVISION
                                                                Petty

                                                                Minor              DEFENDANT - U.S
                                                                Misde-
                                                                meanor
                                                                                                                                        FILED
                                                                                                                                          Aug 03 2023
                                                                Felony                DISTRICT COURT NUMBER
                                                                                      3:23-mj-71168 MAG                                  Mark B. Busby
PENALTY:                                                                                                                           CLERK, U.S. DISTRICT COURT
                                                                                                                                NORTHERN DISTRICT OF CALIFORNIA
                                                                                                                                        SAN FRANCISCO




                                                                                                                DEFENDANT
                          PROCEEDING                                                    IS NOT IN CUSTODY
                                                                                          Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                       1)       If not detained give date any prior
                                                                                          summons was served on above charges

       person is awaiting trial in another Federal or State Court,               2)       Is a Fugitive
       give name of court
                                                                                 3)       Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                        IS IN CUSTODY
                                                                                 4)       On this charge
       this is a reprosecution of

                                                                                                                           }
       charges previously dismissed                                              5)       On another conviction
       which were dismissed on motion                    SHOW                                                                         Federal           State


                                                }
       of:                                             DOCKET NO.
                                                                                 6)       Awaiting trial on other charges
            U.S. ATTORNEY          DEFENSE
                                                                                           If answer to (6) is "Yes", show name of institution

       this prosecution relates to a

                                                                                                                    }
                                                                                                          Yes            If "Yes"
       pending case involving this same                                               Has detainer
                                                                                                                         give date
       defendant                                      MAGISTRATE                      been filed?         No             filed


                                                }
                                                       CASE NO.
                                                                                      DATE OF                    Month/Day/Year
       prior proceedings or appearance(s)
       before U.S. Magistrate regarding this                                          ARREST
       defendant were recorded under                                                  Or... if Arresting Agency & Warrant were not

Name and Office of Person                                                             DATE TRANSFERRED                         Month/Day/Year
Furnishing Information on this form                                                   TO U.S. CUSTODY
                             U.S. Attorney       Other U.S. Agency

Name of Assistant U.S.                                                                     This report amends AO 257 previously submitted
Attorney (if assigned)
                                                ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
            SUMMONS           NO PROCESS*            WARRANT             Bail Amount:
        If Summons, complete following:
             Arraignment    Initial Appearance                           * Where defendant previously apprehended on complaint, no new summons or
                                                                         warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                         Date/Time:                                 Before Judge:

        Comments:
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       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:       COMPLAINT           INFORMATION             INDICTMENT                          Name of District Court, and/or Judge/Magistrate Location
                                                      SUPERSEDING                           NORTHERN DISTRICT OF CALIFORNIA
          OFFENSE CHARGED
                                                                                                      SAN FRANCISCO DIVISION
                                                                Petty

                                                                Minor              DEFENDANT - U.S
                                                                Misde-
                                                                meanor
                                                                                                                                         FILED
                                                                                                                                           Aug 03 2023
                                                                Felony
                                                                                      DISTRICT COURT NUMBER                               Mark B. Busby
PENALTY:                                                                                                                            CLERK, U.S. DISTRICT COURT
                                                                                      3:23-mj-71168 MAG                          NORTHERN DISTRICT OF CALIFORNIA
                                                                                                                                         SAN FRANCISCO




                                                                                                                DEFENDANT
                          PROCEEDING                                                    IS NOT IN CUSTODY
                                                                                          Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                       1)       If not detained give date any prior
                                                                                          summons was served on above charges

       person is awaiting trial in another Federal or State Court,               2)       Is a Fugitive
       give name of court
                                                                                 3)       Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                        IS IN CUSTODY
                                                                                 4)       On this charge
       this is a reprosecution of

                                                                                                                           }
       charges previously dismissed                                              5)       On another conviction
       which were dismissed on motion                    SHOW                                                                         Federal            State


                                                }
       of:                                             DOCKET NO.
                                                                                 6)       Awaiting trial on other charges
            U.S. ATTORNEY          DEFENSE
                                                                                           If answer to (6) is "Yes", show name of institution

       this prosecution relates to a

                                                                                                                    }
                                                                                                          Yes            If "Yes"
       pending case involving this same                                               Has detainer
                                                                                                                         give date
       defendant                                      MAGISTRATE                      been filed?         No             filed


                                                }
                                                       CASE NO.
                                                                                      DATE OF                    Month/Day/Year
       prior proceedings or appearance(s)
       before U.S. Magistrate regarding this                                          ARREST
       defendant were recorded under                                                  Or... if Arresting Agency & Warrant were not

Name and Office of Person                                                             DATE TRANSFERRED                         Month/Day/Year
Furnishing Information on this form                                                   TO U.S. CUSTODY
                             U.S. Attorney       Other U.S. Agency

Name of Assistant U.S.                                                                     This report amends AO 257 previously submitted
Attorney (if assigned)
                                                ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
            SUMMONS           NO PROCESS*            WARRANT             Bail Amount:
        If Summons, complete following:
             Arraignment    Initial Appearance                           * Where defendant previously apprehended on complaint, no new summons or
                                                                         warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                         Date/Time:                                 Before Judge:

        Comments:
